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 8                                    UNITED STATES DISTRICT COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN FRANCISCO DIVISION
11   IN RE: CATHODE RAY TUBE (CRT)                        CASE NO.: 3:07-cv-05944-SC
     ANTITRUST LITIGATION
12                                                        MDL NO.: 1917
     ________________________________________
13                                                        Individual Case No. 3:13-cv-02171-SC
     This Document Relates To:
14                                                        [PROPOSED] ORDER DENYING DELL’S
     Dell Inc., et al. v. Hitachi, Ltd., et al.           ADMINISTRATIVE MOTION TO
15                                                        CONFIRM ITS OPT OUT REQUEST OR,
                                                          IN THE ALTERNATIVE, FOR AN
16                                                        ENLARGEMENT OF TIME TO OPT OUT
17           The Court having considered the arguments and materials submitted by the parties, and the
18   papers on file in this case, it is hereby ORDERED that Dell’s Motion is DENIED.
19           IT IS SO ORDERED.
20

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23   DATED: _____________, 2014
                                                  HON. SAMUEL CONTI
24                                                UNITED STATES DISTRICT JUDGE
25

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     [PROPOSED] ORDER DENYING DELL’S MOTION TO       1                                       MDL NO.: 1917
     ENLARGE THE OPT-OUT DEADLINE                                    INDIVIDUAL CASE NO.: 3:13-CV-02171-SC
